       Case 18-21581-CMB                        Doc 74        Filed 05/03/23 Entered 05/03/23 15:04:56                         Desc Main
     Fill in this information to identify the case:           Document Page 1 of 5
     Debtor 1              HARRY L. SHARP


     Debtor 2              BETH A. SHARP
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          18-21581CMB




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 LAKEVIEW LOAN SERVICING LLC                                                       6

 Last 4 digits of any number you use to identify the debtor's account                         1   7   6   2

 Property Address:                             107 FAIRVIEW AVE
                                               MASONTOWN PA 15461




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $          68.56

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $          68.56

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $          68.56



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $545.96
         The next postpetition payment is due on                 6 / 1 / 2023
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


Form 4100N                                                        Notice of Final Cure Payment                                         page 1
   Case 18-21581-CMB                 Doc 74    Filed 05/03/23 Entered 05/03/23 15:04:56                            Desc Main
                                               Document Page 2 of 5



Debtor 1     HARRY L. SHARP                                                   Case number (if known) 18-21581CMB
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    05/03/2023


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




Form 4100N                                        Notice of Final Cure Payment                                             page 2
   Case 18-21581-CMB           Doc 74   Filed 05/03/23 Entered 05/03/23 15:04:56                          Desc Main
                                        Document Page 3 of 5



Debtor 1     HARRY L. SHARP                                          Case number (if known) 18-21581CMB
             Name




                                           Disbursement History

Date         Check #    Name                               Posting Type                                         Amount
MORTGAGE ARR. (Part 2 (b))
11/27/2018   1098585    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         68.56
                                                                                                                 68.56

MORTGAGE REGULAR PAYMENT (Part 3)
07/26/2018   1085685    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                       1,618.00
08/28/2018   1088957    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         788.60
09/25/2018   1092167    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         526.72
10/29/2018   1095320    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         501.65
11/27/2018   1098585    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         490.71
12/21/2018   1101682    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         490.71
01/25/2019   1104800    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         496.93
02/25/2019   1108082    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
03/25/2019   1111322    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
04/26/2019   1114594    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
05/24/2019   1117983    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
06/25/2019   1121329    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
07/29/2019   1124801    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
08/27/2019   1128242    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
09/24/2019   1131680    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
10/24/2019   1134900    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
11/25/2019   1138371    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
12/23/2019   1141821    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
01/28/2020   1145162    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
02/25/2020   1148671    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
03/23/2020   1152227    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
04/27/2020   1155692    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
05/26/2020   1159085    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
06/26/2020   1162459    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
07/29/2020   1165658    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
08/25/2020   1168722    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
09/28/2020   1171807    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
10/26/2020   1174915    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
11/24/2020   1178014    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
12/21/2020   1181026    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
01/25/2021   1183937    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
02/22/2021   1187000    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
03/26/2021   1190233    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
04/26/2021   1193532    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
05/25/2021   1196670    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
06/25/2021   1199481    AMERIHOME MORTGAGE COMPANY LLC     AMOUNTS DISBURSED TO CREDITOR                         493.82
07/26/2021   1204253    LAKEVIEW LOAN SERVICING LLC        AMOUNTS DISBURSED TO CREDITOR                         493.82
08/26/2021   1207376    LAKEVIEW LOAN SERVICING LLC        AMOUNTS DISBURSED TO CREDITOR                         493.82
09/24/2021   1210497    LAKEVIEW LOAN SERVICING LLC        AMOUNTS DISBURSED TO CREDITOR                         493.82
10/25/2021   1213574    LAKEVIEW LOAN SERVICING LLC        AMOUNTS DISBURSED TO CREDITOR                         493.82
11/22/2021   1216613    LAKEVIEW LOAN SERVICING LLC        AMOUNTS DISBURSED TO CREDITOR                         493.82
12/23/2021   1219670    LAKEVIEW LOAN SERVICING LLC        AMOUNTS DISBURSED TO CREDITOR                         493.82
01/26/2022   1222742    LAKEVIEW LOAN SERVICING LLC        AMOUNTS DISBURSED TO CREDITOR                         493.82
02/23/2022   1225636    LAKEVIEW LOAN SERVICING LLC        AMOUNTS DISBURSED TO CREDITOR                         493.82
03/25/2022   1228582    LAKEVIEW LOAN SERVICING LLC        AMOUNTS DISBURSED TO CREDITOR                         493.82
04/26/2022   1231604    LAKEVIEW LOAN SERVICING LLC        AMOUNTS DISBURSED TO CREDITOR                         493.82
05/25/2022   1234637    LAKEVIEW LOAN SERVICING LLC        AMOUNTS DISBURSED TO CREDITOR                         493.82
06/27/2022   1237662    LAKEVIEW LOAN SERVICING LLC        AMOUNTS DISBURSED TO CREDITOR                         493.82
07/26/2022   1240615    LAKEVIEW LOAN SERVICING LLC        AMOUNTS DISBURSED TO CREDITOR                         493.82
08/24/2022   1243515    LAKEVIEW LOAN SERVICING LLC        AMOUNTS DISBURSED TO CREDITOR                         493.82
09/27/2022   1246382    LAKEVIEW LOAN SERVICING LLC        AMOUNTS DISBURSED TO CREDITOR                         493.82
10/25/2022   1249212    LAKEVIEW LOAN SERVICING LLC        AMOUNTS DISBURSED TO CREDITOR                         493.82
11/23/2022   1251989    LAKEVIEW LOAN SERVICING LLC        AMOUNTS DISBURSED TO CREDITOR                         493.82
12/22/2022   1254759    LAKEVIEW LOAN SERVICING LLC        AMOUNTS DISBURSED TO CREDITOR                         545.96
01/26/2023   1257487    LAKEVIEW LOAN SERVICING LLC        AMOUNTS DISBURSED TO CREDITOR                         545.96
02/23/2023   1260116    LAKEVIEW LOAN SERVICING LLC        AMOUNTS DISBURSED TO CREDITOR                         545.96
03/28/2023   1262879    LAKEVIEW LOAN SERVICING LLC        AMOUNTS DISBURSED TO CREDITOR                         545.96
04/25/2023   1265701    LAKEVIEW LOAN SERVICING LLC        AMOUNTS DISBURSED TO CREDITOR                       2,781.24



Form 4100N                                Notice of Final Cure Payment                                           page 3
   Case 18-21581-CMB           Doc 74   Filed 05/03/23 Entered 05/03/23 15:04:56                         Desc Main
                                        Document Page 4 of 5



Debtor 1     HARRY L. SHARP                                         Case number (if known) 18-21581CMB
             Name




                                          Disbursement History

Date         Check #    Name                              Posting Type                                         Amount
                                                                                                             32,594.12




Form 4100N                               Notice of Final Cure Payment                                           page 4
  Case 18-21581-CMB            Doc 74     Filed 05/03/23 Entered 05/03/23 15:04:56                  Desc Main
                                          CERTIFICATE OF
                                          Document       SERVICE
                                                       Page 5 of 5
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

HARRY L. SHARP
107 FAIRVIEW AVE.
MASONTOWN, PA 15461

BETH A. SHARP
4817 COMPRESSOR STATION ROAD
BRUCETON MILLS, WV 26525

ABAGALE E STEIDL ESQ
STEIDL & STEINBERG
GULF TOWER - 28TH FL
707 GRANT ST
PITTSBURGH, PA 15219

LAKEVIEW LOAN SERVICING LLC
C/O NATIONSTAR MORTGAGE LLC D/B/A MR COOPER
PO BOX 619094
DALLAS, TX 75261-9741

NATIONSTAR MORTGAGE LLC**
ATTN BANKRUPTCY NOTICES - LEGAL
PO BOX 619096
DALLAS, TX 75261-9741

LOGS LEGAL GROUP LLP
3600 HORIZON DR STE 150
KING OF PRUSSIA, PA 19406




5/3/23                                                         /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




Form 4100N                                   Notice of Final Cure Payment                                     page 1
